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                                                    September 17, 2019

VIA ECF
Honorable Judge John G. Koeltl
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Morgan v. John Masters Organics, Inc.; Case No. 1:19-cv-07454-JGK


To the Honorable Judge Koeltl,

       The undersigned represents Plaintiff Jon R. Morgan (hereinafter “Plaintiff”) in the above-
referenced matter.

        The initial conference for this matter is set for October 21, 2019 at 4:30 p.m. However,
Plaintiff’s Counsel observes the Jewish Holiday of Sukkot, which runs from the evening of October
13, 2019 until the evening of October 22, 2019, and therefore will not be able to attend the
conference.

       At this time Counsel for the Plaintiff requests on consent that the October 21st conference
be adjourned to any day during the week of November 18, 2019 or November 25, 2019.

       Thank you for your time and consideration of the above request.


                                                           Respectfully,

                                                            /s/ Jonathan Shalom
                                                           Jonathan Shalom, Esq.
